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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        COINMINT, LLC,
                                  10                                                          Case No. 23-cv-00599-RS
                                                        Plaintiff,
                                  11
                                                 v.                                           ORDER DIRECTING RESUBMISSION
                                  12                                                          OF ADMINISTRATIVE MOTION TO
Northern District of California
 United States District Court




                                        DX CORR DESIGN, INC., et al.,                         CONSIDER WHETHER ANOTHER
                                  13                                                          PARTY’S MATERIALS SHOULD BE
                                                        Defendants.                           SEALED
                                  14

                                  15           Following the Court’s order directing non-party Katena Computing Technologies, Inc.

                                  16   (“Katena”) to file a revised submission in support of the administrative motions to file under seal,

                                  17   Katena indicated a more limited set of materials should be sealed, as compared to materials the parties

                                  18   had filed under seal. Helpfully, Katena’s new submission did not seek wholesale sealing of entire

                                  19   exhibits. Nonetheless, the designated material, particularly among the text messages, remains

                                  20   overbroad.

                                  21           In the first instance, Plaintiff Coinmint should not have included entire text conversations

                                  22   indiscriminately containing messages unrelated to the allegations in the case, and is directed to pare

                                  23   down its exhibits to include germane material. Given Plaintiff’s inclusion of conversations regarding

                                  24   Katena’s deals with other third parties, Plaintiff’s suggestion that “the Complaint, FAC, and the

                                  25   Opposition to the Stay Motion should become public in their entirety without any redactions,” Dkt. 42

                                  26   at 1, has no merit.

                                  27           On the other hand, Katena also has not proposed the minimum redactions necessary to ensure

                                  28   the confidentiality of its trade secrets, strategies or communications relating to ongoing negotiations,
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                                   1   internal financials, non-public hiring practices and standards, or material terms of Katena’s contracts

                                   2   with third parties (price and quantity). By way of example, Katena redacts entire messages, even where

                                   3   redacting specific figures or names would be sufficient, see Dkt. 41-4 at 4, Dkt. 41-8 at 11; or where

                                   4   the message is innocuous, see Dkt. 41-4 at 4 (text message consisting only of “yeah”). Katena

                                   5   sometimes seeks to redact statements that might be embarrassing but are otherwise not confidential.

                                   6   See, e.g., Dkt. 41-4 at 35, Dkt. 41-14 at 14. Notably, some proposed redactions include messages

                                   7   referring to Mr. Maloney’s interest in a job with Katena, and Katena employees’ desire to leverage that

                                   8   interest, but these are germane to the allegations in the case and not related to internal hiring practices

                                   9   or standards that should be confidential. See Dkt. 41-4 at 10-13; Dkt. 41-5 at 3.

                                  10           It is regrettable that this matter requires continued attention in light of the stay, and the Court

                                  11   expects any further submission to conform with the guidance given in this order. Accordingly, the

                                  12   Parties are ordered to meet and confer on a revised submission that is significantly pared down, and to
Northern District of California
 United States District Court




                                  13   file the jointly revised submission by July 28, 2023.

                                  14

                                  15   IT IS SO ORDERED.

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                                  17   Dated: June 30, 2023

                                  18                                                       ______________________________________
                                                                                           RICHARD SEEBORG
                                  19                                                       Chief United States District Judge
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                                  28                                                                                ORDER DIRECTING RESUBMISSION
                                                                                                                      CASE NO. 23-cv-00599-RS
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